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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA

ELIZABETH SINES ET AL. ; Case No. 1:17-cv-00072

Plaintiffs : Judge MOON
Mag. Judge HOPPE

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JASON KESSLER ET AL.

Defendants

 

DECLARATION OF JEFF SCHOEP

 

Mr. Jeff Schoep, having been duly cautioned, declares and states as follows:

1. This declaration is based on personal knowledge.

De I am a member of, and hold a leadership position in, the National Socialist
Movement (“NSM”).

3. I was served with a summons addressed to the Nationalist Front (“NF”) on October
24, 2017.
4. The Nationalist Front has no physical existence whatsoever. It exists solely as a

website at www.nfunity.org.

5. The web address www.nfunity.org is not owned by NF but by the Traditionalist
Workers Party. The cost of maintaining the website online is nominal.

6. NF does not have members in any traditional sense, does not charge dues, does not

and has no ability to hold property of any kind, and conducts no business or other
kind of corporate or member activity whatsoever.

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7. NF is rather a group of “Alt-Right” organizations who have voluntarily agreed that
when they conduct particular political activity it ought to be done in a generally
similar way. The groups have also agreed to try to conduct inter group disputes in
a generally similar way.

8. The nfunity website exists to advertise the aspirational goals and the existence of
various Alt-Right groups so that interested persons can learn more and contact
individual groups if they desire to do so.

mo To the best of my knowledge, NF has no existence other than the nfunity website.

10. The groups listed on the website are not commonly known by the name Nationalist
Front but rather by their individual organizational names.

I declare under penalty of perjury that the foregoing is true and correct. Executed on
November 14, 2017

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